                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


                                               )
 CHAMBERS OF COMMERCE OF THE                   )
 UNITED STATES OF AMERICA, et al.,             )
                                               )
        Plaintiffs,                            )      Civil Action No. 21-cv-00410-LKG
                                               )
 v.                                            )      Dated: July 13, 2022
                                               )
 PETER FRANCHOT,                               )
                                               )
        Defendant.                             )
                                               )

                                    SCHEDULING ORDER

       On July 12, 2022, the Court held oral arguments on the parties’ cross-motions on the
issue of whether the pass-through prohibition contained in Maryland’s Digital Advertising Gross
Revenues Tax Act (the “DATA”) violates the First Amendment. The Court has determined that
additional briefing is necessary to resolve this issue. And so, the parties shall FILE supplemental
briefs on the following issues:

       1.      Whether plaintiffs have satisfied the pre-requisite for bringing a facial challenge
               to the DATA’s pass-through prohibition under the First Amendment, by showing
               either that:
               a.      “[N]o set of circumstances exists under which [the pass-through
                       prohibition] would be valid, or that the [pass-through prohibition] lacks any
                       plainly legitimate sweep;” or
               b.      The pass-through prohibition is “overbroad [because] a substantial number
                       of its applications are unconstitutional, judged in relation to the statute’s
                       plainly legitimate sweep.”
               See Greater Balt. Ctr. for Pregnancy Concerns, Inc. v. Mayor and City Council of
               Balt., 721 F.3d 264, 282 (4th Cir. 2013) (quoting United States v. Stevens, 559 U.S.
               460, 472-73 (2010)).
       2.      Should the Court determine that the pass-through prohibition, either in whole or
               in part, regulates commercial speech, whether the pass-through prohibition
               satisfies intermediate scrutiny, by showing that:
               a.      The “regulated speech concerns lawful activity and is not misleading;”
               b.     The pass-through prohibition “is supported by a substantial government
                      interest;”
               c.     The pass-through prohibition “directly advances that [substantial
                      government] interest; and”
               d.     The pass-through prohibition “is not more extensive than necessary to serve
                      the government’s interest.”

               See Ed. Media Co. at Va. Tech, Inc. v. Insley, 731 F.3d 291, 298 (4th Cir. 2013)
               (citing Central Hudson Gas & Elec. Corp. v. Public Service Comm’n of N.Y., 447
               U.S. 557, 566 (1980)).

       The parties shall MEET-and-CONFER and FILE a joint status report proposing a
schedule for the briefing of these issues on or before July 22, 2022.


           IT IS SO ORDERED.


                                                  s/ Lydia Kay Griggsby
                                                  LYDIA KAY GRIGGSBY
                                                  United States District Judge




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